Case 1:09-cr-00109-MJT          Document 553       Filed 12/21/09     Page 1 of 6 PageID #: 2660




                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   BEAUMONT DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
                                                   §
 VS.                                               §   CASE NO. 1:09-CR-109(14)
                                                   §
 JAMES ALEXANDER SMITH                             §

             FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                  BEFORE THE UNITED STATES MAGISTRATE JUDGE

           By order of the District Court, this matter was referred to the undersigned United States

 Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

 Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct

 a felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3).

 United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642

 (2003).

           On December 14, 2009, this cause came before the undersigned United States Magistrate

 Judge for entry of a guilty plea by the defendant, on Count I of the charging Indictment filed in

 this cause. Count I of the Indictment charges that from on or about December, 1988, and


                                                 -1-
Case 1:09-cr-00109-MJT               Document 553            Filed 12/21/09          Page 2 of 6 PageID #: 2661




 continuing thereafter until August 5, 2009, in the Eastern District of Texas and elsewhere, the

 defendant, James Alexander Smith, did knowingly or intentionally combine, conspire,

 confederate and agree together with other named defendants and with other persons known and

 unknown to the Grand Jury to distribute and possess with intent to distribute a Schedule I

 controlled substance, namely, marijuana, in an amount of one thousand (1,000) kilograms or

 more, in violation of Title 21, United States Code, Section 841(a)(1) and Title 18, United States

 Code, Section 2, all in violation of Title 21, United States Code, Section 846. See Indictment.

          Defendant, James Alexander Smith, entered a plea of guilty to Count I of the Indictment

 into the record at the hearing.

          After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

          a.       That Defendant, after consultation with counsel of record, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas, subject to a final approval and imposition of

 sentence by the District Court.

          b.       That Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal.

          c.       That Defendant is fully competent and capable of entering an informed plea,1 that



          1
                   Defendant testified that he currently takes Cymbalta for treatment of pain. In response to the court’s
 questions, Defendant stated that he is capable of understanding the proceeding and the nature of the charges against him,
 and that he experiences no drowsiness or slowness of comprehension. Both government’s counsel and Defendant’s
 counsel agreed that Defendant is and has been cogent. The court found Defendant capable of understanding the
 proceeding and of responding lucidly to the court’s questions.

                                                          -2-
Case 1:09-cr-00109-MJT         Document 553         Filed 12/21/09      Page 3 of 6 PageID #: 2662




 Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is a knowing, voluntary, and freely made plea. Upon addressing the Defendant

 personally in open court, the Court determines that Defendant’s plea is voluntary and did not

 result from force, threats, or promises. See FED . R. CRIM . P. 11(b)(2).

        d.      That Defendant’s knowing, voluntary, and freely made plea is supported by an

 independent factual basis establishing each of the essential elements of the offense, and

 Defendant realizes that his conduct falls within the definition of the crimes charged under 21

 U.S.C. § 841(a)(1), and Title 21, United States Code, Section 846.

                                   STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the government presented evidence with

 the plea agreement.      See Factual Basis, Included in Plea Agreement.           In support, the

 Government would prove that Defendant, James Alexander Smith, is one and the same person

 charged in the Indictment and that the events described in the Indictment occurred in the Eastern

 District of Texas and elsewhere. The Government would also have proven, beyond a reasonable

 doubt, each and every essential element of the offense alleged in the Indictment through the

 testimony of witnesses, including expert witnesses, and admissible exhibits. In support of the

 Defendant’s plea, the Court incorporates the proffer of evidence described in detail in the factual

 basis portion of the plea agreement.

        Defendant, James Alexander Smith, agreed with the evidence included in the plea

 agreement and signed the Factual Basis. Counsel for Defendant and the Government attested to

 Defendant’s competency and capability to enter an informed plea of guilty. The Defendant



                                                 -3-
Case 1:09-cr-00109-MJT                 Document 553              Filed 12/21/09           Page 4 of 6 PageID #: 2663




 agreed with the evidence presented by the Government and personally testified that he was

 entering his guilty plea knowingly, freely, and voluntarily.

                                        RECOMMENDED DISPOSITION

          IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count I of the charging Indictment on file in this criminal

 proceeding. The Court also recommends that the District Court accept the plea agreement.2

 Accordingly, it is further recommended that Defendant, James Alexander Smith, be finally

 adjudged as guilty of the charged offense under Title 21, United States Code, Section 841(a)(1),

 and Title 21, United States Code, Section 846.

          Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. At the plea hearing, the Court admonished the Defendant

 that the District Court may reject his plea and that the District Court can decline to sentence

 Defendant in accordance with the plea agreement, the federal sentencing guidelines, and/or the

          2
            “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).


                                                              -4-
Case 1:09-cr-00109-MJT        Document 553        Filed 12/21/09     Page 5 of 6 PageID #: 2664




 presentence report because the sentencing guidelines are advisory in nature. The District Court

 may defer its decision to accept or reject the plea agreement until there has been an opportunity

 to consider the presentence report. See FED . R. CRIM . P. 11(c)(3). If the Court rejects the plea

 agreement, the Court will advise Defendant in open court that it is not bound by the plea

 agreement and Defendant may have the opportunity to withdraw his guilty plea, dependent upon

 the type of the plea agreement. See FED . R. CRIM . P. 11(c)(3)(B). If the plea agreement is

 rejected and Defendant still persists in the guilty plea, the disposition of the case may be less

 favorable to Defendant than that contemplated by the plea agreement. Defendant has the right to

 allocute before the District Court before imposition of sentence.

                                          OBJECTIONS

        Within ten (10) days after receipt of this report, any party may serve and file written

 objections to the report and recommendation of the Magistrate Judge pursuant to 28 U.S.C. §

 636(b)(1)(C). Failure to file written objections to the proposed findings of facts, conclusions of

 law and recommendations contained within this report within ten (10) days after service shall bar

 an aggrieved party from de novo review by the District Judge of the proposed findings,

 conclusions and recommendations, and from appellate review of factual findings and legal

 conclusions accepted by the District Court except on grounds of plain error. Douglass v. United

 Serv. Auto. Ass’n., 79 F.3d 1415 (5th Cir. 1996) (en banc); 28 U.S.C. § 636(b)(1).            The

 constitutional safeguards afforded by Congress and the courts require that, when a party takes

 advantage of his right to object to a magistrate’s findings or recommendation, a district judge

 must exercise its nondelegable authority by considering the actual evidence and not merely by



                                                -5-
Case 1:09-cr-00109-MJT        Document 553        Filed 12/21/09     Page 6 of 6 PageID #: 2665




 reviewing and blindly adopting the magistrate’s report and recommendation. See Hernandez v.

 Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir.

 1981) (per curiam).


                       SIGNED this the 21st day of December, 2009.




                                                        ____________________________________
                                                        KEITH F. GIBLIN
                                                        UNITED STATES MAGISTRATE JUDGE




                                               -6-
